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                     UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF OHIO

                            EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION           MDL 2804

OPIATE LITIGATION                      Case No.: 1:17-md-2804

THIS DOCUMENT RELATES TO:              Judge Dan Aaron Polster

ALL CASES




                      REQUEST FOR ENTRY OF
                     PROPOSED RULE 23(c)(1)(B)
                       NEGOTIATION CLASS
                       MEMBERSHIP ORDER
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                                         Introduction

       On September 11, 2019, the Court entered an order certifying a negotiation class,

appointing Negotiation Class Counsel, and approving the proposed notice and opt-out

procedures (the “Certification Order,” ECF No. 2591, ¶¶ 3, 7, & 11-12). Under the approved opt-

out procedures, exclusion requests were to be received (or, if mailed, postmarked) on or before

November 22, 2019. On December 2, 2019, Negotiation Class Counsel submitted its report on

the Class Notice program and the status of opt outs. ECF No. 2959.

       Negotiation Class Counsel now requests entry of the attached proposed Rule 23(c)(1)(B)

Negotiation Class Membership Order confirming the entities comprising the Negotiation Class

(“Proposed Order”). This request is supported by the accompanying Supplemental Declaration of

Cameron Azari (“Suppl. Azari Decl.”), Director of Legal Notice for Hilsoft Notifications (a unit

of the Negotiation Class Notice administrator, Epiq Class Action & Claims Solutions, Inc.),

which reflects updated information concerning exclusion requests received by Epiq.

                               Summary of Opt Out Requests

       The Negotiation Class consists of local governments (counties, cities, towns, etc.)

identified in certain 2010 and 2012 U.S. Census Bureau reports (with certain modifications

identified in Plaintiffs’ Renewed and Amended Motion for Certification of Rule 23(b)(3)

Cities/Counties Negotiation Class). ECF No. 1820 at p.3, n.3. The December 2, 2019 report

demonstrated the success of the notice program in timely reaching these entities and that the

overwhelming bulk of the potential class members—more than 98%—remained in the

Negotiation Class. This submission confirms the robust support for the Negotiation Class.

       Following the December 2, 2019 report, Epiq conducted a further audit of exclusion

requests. Suppl. Azari Decl., ¶ 5. Those audits showed that, out of the 34,458 members of the

Negotiation Class identified on the list posted on the Negotiation Class website

(https://www.opioidsnegotiationclass.info/), 569 emailed/mailed requests for exclusion on or
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    before November 22, 2019 (“Opt Outs”). 1 Id., ¶ 6. Eighteen of those 569 Opt Outs subsequently

    rescinded their exclusion requests, choosing instead to remain in the Negotiation Class. Id.

           The 33,884 Negotiation Class members that never requested exclusion are identified in

    Exhibit A to the Supplemental Azari Declaration. The Proposed Order would include these

    entities in the Negotiation Class.

           The 18 Opt Outs that have rescinded their exclusion requests as of January 10, 2020 are

    identified in Exhibit B to the Supplemental Azari Declaration. The Proposed Order would

    include these entities in the Negotiation Class.

           The 551 Opt Outs that submitted requests for exclusion on or before November 22, 2019

    and have not since rescinded their exclusion requests are identified in Exhibit C to the

    Supplemental Azari Declaration. The Proposed Order would exclude these 551 Opt Outs from

    the Negotiation Class.

           An additional 5 exclusion requests were emailed/mailed after November 22, 2019. Suppl.

    Azari Decl. ¶ 7. None of those entities have sought to rescind their exclusion requests. Those

    five entities are identified in Exhibit D to the Supplemental Azari Declaration. Given the very

    small number of untimely Opt Outs and the fact that no settlement proposal has been presented

    to the Negotiation Class, Negotiation Class counsel respectfully requests that the Court exercise

    its discretion to permit this small number of untimely Opt Outs. The Proposed Order includes a

    provision that would exclude these five additional entities.

           Class Counsel understands that additional Opt Outs are considering rescinding their

    requests for exclusion and remaining in the Negotiation Class. Given the nature and purpose of

    the Negotiation Class, Class Counsel may seek leave (on noticed motion) in the future to amend

    the Negotiation Class membership to add additional members that rescind their exclusion

    requests and confirm their decision to instead remain in the Negotiation Class.

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  Epiq also received “exclusion requests” from entities that Negotiation Class counsel confirmed were not
identified on the list of potential Negotiation Class members. Suppl. Azari Decl., ¶ 5. These exclusion
requests were treated as nullities because the entities that submitted them were not potential Negotiation
Class members and, therefore, did not need to exclude themselves from the Negotiation Class.
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                                         CONCLUSION

       For all of the reasons set forth above, Negotiation Class Counsel respectfully requests that

the Court enter the accompanying Rule 23(c)(1)(B) Negotiation Class Membership Order.

  Dated: January 10, 2020                 Respectfully submitted,

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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on January 10, 2020, I caused the foregoing to be filed with

the Clerk of the Court using the CM/ECF system, which will send a notification to all counsel of

record.




                                                         s/ Christopher A. Seeger
                                                       CHRISTOPHER A. SEEGER
